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                     BURLESON POLICE DEPARTMENT
                      SEARCH WARRANT AFFIDAVIT


THE STATE OF TEXAS*
                                              Warrant#    I/) 3-L ,;)C,-';Jt:;"'"72c_
COUNTY OF JOHNSON*


I, RONALD MARTIN, THE UNDERSIGNED AFFIANT, BEING A PEACE OFFICER UNDER
THE LAWS OF TEXAS AS DEFINED BY THE TEXAS CODE OF CRIMINAL PROCEDURE
ARTICLE 2 .12 (3) AND BEING DULY SWORN, ON OATH MAKES THE FOLLOWING
STATEMENTS AND ACCUSATION:


1) THERE IS IN JOHNSON COUNTY, TEXAS A LOCATION; HEREAFTER, CALLED
"SUSPECTED VEHICLE" DESCRIBED AND LOCATED AS FOLLOWS:
A Blue 2022 Chevrolet Corvette bearing Texas License Plate RFN3909, VIN
1G1YC2D41N5109850. The vehicle is blue in color. The suspected vehicle
was located at 900-Block of Jacobs Crossing Ct, Burleson, Johnson
County, Texas, within the jurisdiction of the District courts of Johnson
County. The vehicle was seized and brought to the City of Burleson
Service Center, 725 SE John Jones Dr, Burleson, Johnson Countp Texas
for evidence processing.                                    C· ~ c...:
                                                                            (_.,
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2) SAID SUSPECTED VEHICLE WAS BELIEVED TO HAVE BEEN IN CARE AND
CONTROLLED BY EACH OF THE FOLLOWING NAMED PARTIES DURING THE COMMISSION
OF THE OFFENSE; HEREAFTER, CALLED "SUSPECTED PARTY" WHETHER ONE OR MORE
TO WIT:
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David Allen Devaney JR W/M

3) IT IS THE BELIEF OF AFFIANT, AND AFFIANT HEREBY CHARGES AND ACCUSES
THAT SAID SUSPECTED PARTY HAS POSSESSION OF AND IS CONCEALING AT
SUSPECTED VEHICLE IN VIOLATION OF THE LAWS OF TEXAS THE FOLLOWING
DESCRIBED PERSONAL PROPERTY, TO WIT:

 A)    Implements or instruments used in the commission of a crime in
      accordance with the Texas Code of Criminal Procedure article 18.02
      section (a) (9); specifically, the Crime of Murder, which is a
      violation of the Texas Penal Code, 19.02 (C), a 1ST Degree Felony,
      the Crime of Engaging in Organized Criminal Activity to Wit: Man
      Del CS PG 1 < 400G, Aggravated Robbery and Aggravated Assault,
      which are violations of the Texas Penal Code, 71. 02 (A) ( 5) ,
      71. 02 (A) ( 1) respectively, l5T Degree Felonies.

 B)    Implements or instruments used in the commission of a crime in
      accordance with the Texas Code of Criminal Procedure article 18.02
      section (a) (9);specifically, A Blue 2022 Chevrolet Corvette
      bearing Texas License Plate RFN3909, VIN 1G1YC2D41N5109850,
      including any and all contents and evidence contained in the
      vehicle which could have been used in the commission of an
      offense, specifically, the Crime of Murder, which is a violation
      of the Texas Penal Code, 19.02 (C), a 1ST Degree Felony, the Crime
      of Engaging in Organized Criminal Activity to Wit: Man Del CS PG 1
      < 400G, Aggravated Robbery and Aggravated Assault, which are
      violations of the Texas Penal Code, 71. 02 (A) ( 5) , 71. 02 (A) ( 1)
      respectively, 1 8 T Degree Felonies.

       a.     Property or items, except the personal writings by the
            accused, constituting evidence of an offense or constituting
            evidence tending to show that a particular person committed an
            offense, in accordance with the Texas Code of Criminal
            Procedure article 18.02 section (a) (10); specifically,
            firearms, ammunition, which is believed to support evidence of
            Murder, which is a violation of the Texas Penal Code, 19.02
            (C), a 1ST Degree Felony, the Crime of Engaging in Organized
            Criminal Activity to Wit: Man Del CS PG 1 < 400G, Aggravated
            Robbery and Aggravated Assault, which are violations of the
            Texas Penal Code, 71.02(A) (5), 71.02(A) (1) respectively, 1sT
            Degree Felonies.

       b.     Cellular telephones or other wireless communications devices
            and electronics, in accordance with the Texas Code of Criminal
            Procedure article 18.02 section (a) (14); specifically, devices
            which is believed to contain evidence of Murder, which is a
            violation of the Texas Penal Code, 19.02 (C), a 1ST Degree
            Felony, the Crime of Engaging in Organized Criminal Activity
            to Wit: Man Del CS PG 1 <400G, Aggravated Robbery and
            Aggravated Assault, which are violations of the Texas Penal
            Code, 71. 02 (A) ( 5) , 71. 02 (A) ( 1) respectively, l5T Degree
            Felonies.
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      c.     Implements or instruments used in the commission of a crime
           in accordance with the Texas Code of Criminal Procedure
           article 18.02 section (a) (9) ;specifically, illegal narcotics,
           and drug paraphernalia which could have been used in the
           commission of an offense.

4) AFFIANT HAS PROBABLE      CAUSE   FOR   THE    SAID   BELIEF   BY   REASON   OF     THE
FOLLOWING FACTS, TO WIT:
Your affiant is a peace officer under the laws of the State of Texas as
defined by the Texas Code of Criminal Procedure Article 2.12(3). Affiant
received a Bachelor of Arts Degree in Russian from Baylor University in
2011 and served in the Army National Guard for four years from 2011 to
2014. Affiant has worked at the Burleson Police Department since 2014.
Affiant was certified as a police officer in 2015. Affiant has served in
the capacity of a Mental Heal th Peace Officer, has worked on evening
shift patrol for three years and has an Advanced Peace Officer's
license. Affiant has been assigned as a Detective in the Criminal
Investigations Section since December 2018.

  A) My personal    investigation of the         facts   and circumstances      of the
     offense,

     1.      On 06/24/2022 at approximately 1758 hours, Officers were
          dispatched to the 400 Block of NE Wilshire Blvd, Burleson,
          Johnson County, Texas, in reference to a shooting. Dispatch
          received multiple calls regarding a possible road rage incident
          involving a White 2018 Chevrolet Malibu bearing Texas License
          Plates RJB1221, VIN 1GlZD5ST7JF137251 and an unknown Black four
          door sedan.

     2.      Upon arrival, Officers located the White Malibu           in the 400
          Block of NE Wilshire Blvd in the South bound lanes           prior to the
          intersection of NE Wilshire Blvd and NW Hillery St            unoccupied
          facing southwest bound. The White Malibu displayed            recent damage
          and possible gunshot impacts on the exterior.

     3.      North of this location, Officers located a Silver 2017 BMW XS
          in the culvert adjacent to 500 NE Wilshire Blvd. Officers
          observed a hole in the front windshield of this vehicle
          consistent with damage from a gunshot impact. Officers also
          located a deceased subject in the driver's seat with a possible
          gunshot wound to the front of the head.

     4.      After speaking to several witnesses and based on the
          information from the 911 calls, Officers were advised of the
          following series of events:

     5.    The White Malibu was driving south west bound on NE Wilshire
        Blvd after taking the I35W Highway Exit for NE Wilshire Blvd.
     6.    The Unknown Black four door sedan followed this vehicle. Both
        Vehicles stopped at the intersection of NE Wilshire Blvd and NW
        Hillery St.

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 7.      Witnesses observed the front passenger of the Black Camry exit
      the vehicle and discharge a firearm in the direction of the
      White Malibu.

8.       The White Malibu then turned left heading southeast bound on
      NW Hillery St and the Unknown Black four door sedan followed
      this vehicle.

9.       Witnesses observed the White Malibu in the 400 Block of NE
      Wilshire Blvd in the South bound lanes and the occupants exited
      the vehicle and jumped into the bed of a passing pickup truck.

10.   Officers located these subjects at Auto Nation Ford, located
   at 850 N Burleson Blvd, Burleson, Tarrant County, Texas.
    Identified as Gustavo Hernandez W/M            and Francisco
   Mejia U/M             with a gunshot wound to his leg.

11.  I spoke to several witnesses, who advised they observed the
   White Malibu being followed by the Black Camry off I35W Highway
   Southbound towards the southbound exit for NE Wilshire Blvd.

12.   Witness advised the White Malibu stopped in the roadway in the
   approximate area of the 500 NE Wilshire Blvd on the entrance
   ramp to NE Wilshire Blvd due to being cut off by a black truck
   pulling a trailer, later identified as a Black 2018 Dodge RAM
   SLT, bearing Texas License Plate PNL7899. I was advised Black
   Camry stopped as well and the front passenger exited the
   vehicle, approached the White Malibu and began discharging a
   firearm in the direction of the white Malibu in a southern
   direction.

13.   Based upon further investigation by officers, The Silver BMW
   was in the care and custody of Kathryn Bryan who was not
   involved in the illegal narcotics transaction. This vehicle
   appeared to be traveling northeast bound in the approximate area
   of 500 NE Wilshire Blvd and appeared to be in transit to the
   north and directly across from the area witnesses observed the
   passenger of the Black Camry discharging a firearm in the
   direction of the white Malibu.




14.    During an interview with Gustavo, who was read his Miranda
   Rights and chose to waive them, he advised Detectives he and
    Francisco were meeting subjects at the Burleson Lowe's location
    (located at 920 N Burleson Blvd, Burleson, Tarrant County,
   Texas) for the purpose of attempting to purchase illegal
   narcotics. He advised he and Francisco came from the Mission
   Texas area. He advised they had made a deal to purchase
   approximately two to three kilos of Cocaine, a Penalty Group 1
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      Substance as listed in the Texas Health and Safety Code, for
      $20,000.

15.      Gustavo advised Francisco was communicating with these
      subjects with his cellular device. Gustavo advised Francisco was
      in contact with an unknown female subject who was an associate
      of the subjects they were meeting in the Lowe's parking lot. He
      advised they intended to use fake money to purchase the Cocaine.
      Gustavo advised Francisco attempted to discard the fake money
      from the Malibu during the incident. It should be noted this
      fake money was located in the vicinity of the White Malibu.

16.   Gustavo advised there were two subjects occupying the Black
   Camry and another unknown subject was driving a dark colored
   truck. Gustavo also said there was a third vehicle, a Black
   Truck pulling a trailer.

17.   The Detectives made contact with Francisco, who was read his
   Miranda Rights and chose to waive them, and confirmed Gustavo's
    series of events. He advised he and Gustavo came from the
   Mission Texas area to purchase two to three kilos of Cocaine
   with fake money.

18.   Based on the description of the Black Camry involved, it
   resembled a Toyota Camry TRD model. Investigators with the
   Johnson County STOP Taskforce contacted the local Toyota dealer
   who advised approximately 100 of the TRD type vehicles had been
   sold in the DFW area.

19.   Commander Sparks advised he had cameras set up on a known drug
   dealer's residence who owned a Black Toyota TRD. He identified
   this subject as David Allen Devaney SR.

20.   During the investigation, officers with the Burleson Strategic
   Response team located a Black Toyota Camry registered to a David
   Allen Devaney at the Hampton Inn in Burleson, in vicinity of the
   location of the illegal narcotics deal.

21.   Detectives conducted a Photo Array with Francisco who
   positively identified the SUSPECTED PARTY as a subject who
   discharged a firearm in his and Gustavo's direction.

22.  Francisco corroborated the Gustavo's statements about three
   vehicles being involved.

23.   Due to this, Investigators with the STOP Task Force and the
   Burleson Strategic Response Team began efforts to locate both
   the SUSPECTED PARTY and David Allen Devaney SR due to their
   possible involvement in this incident.

24.  The Honorable Judge William Bosworth of the 413 th District
   Court of Johnson County signed two arrest warrants for

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      Aggravated Assault With a Deadly Weapon for the SUSPECTED PARTY
      in reference to this case.

25.    On 06/25/2022, Investigators with the STOP Task Force and the
   Burleson Strategic Response Team 1 ~            Allen Devaney SR
    in the company of a Cory Litts W/M -           David Allen
    Devaney SR was located walking out of the Hampton Inn located at
   13251 Jake Ct, Fort Worth, Tarrant, Texas. Investigators made
   contact with these subjects who were detained and both subjects
   were found to be in possession of illegal narcotics and each
   possessed a firearm.

26.    As Officers were speaking to David Allen Devaney SR, he
   advised he wanted to speak to a female subject but did not say
   her name. Hotel Staff confirmed both subjects had previously
   been staying on premises in room #202 and the room reservation
   was under a female subject's name. They advised a female subject
   called their front desk before officer arrival and advised her
   boyfriend, David Allen Devaney SR, needed to make entry into
    room #202.

27.      David Allen Devaney SR also advised he wanted to file a report
      for his vehicle being stolen. David Allen Devaney SR advised it
      was a Black Toyota Camry.

28.   Officers sighted A Blue 2022 Chevrolet Corvette bearing Texas
   License Plate RFN3909, being driven by the SUSPECTED PARTY. A
   brief pursuit occurred and the SUSPECTED PARTY exited this
   vehicle in the 900-Block of Jacobs Crossing Ct, Burleson,
   Johnson County, Texas. The SUSPECTED PARTY was taken into
   custody on the warrants related to this case.

29.      The SUSPECTED VEHICLE was seized as evidence and transported
      to the City of Burleson Service Center, located at 725 SE John
      Jones Dr, Burleson, Johnson County, Texas.

30.   Detectives spoke to the SUSPECTED PARTY, who was read his
   Miranda Rights and chose to waive them. The SUSPECTED PARTY
   advised he observed David Allen Devaney SR, his father, meet
   with the occupants of the White Malibu. He advised David Allen
   Devaney SR at the time was wearing a blonde colored wig. The
   SUSPECTED PARTY advised the fr            er of the Black Camry
   was a David Matthew Dever W/M
31.   The SUSPECTED PARTY advised he was acting as security as the
   deal David Allen Devaney SR had set up for the sale of illegal
   narcotics.

32.   The SUSPECTED PARTY advised David Allen Devaney SR was driving
   a Black Toyota Camry during this incident. The SUSPECTED PARTY
   advised he was present for the incident when David Allen Devaney
   SR was meeting with the occupants of the White Malibu and he was
   occupying a Black 2021 Dodge Ram bearing Texas License Plate
   PZS0389. The SUSPECTED PARTY also advised there was another
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   subject in a Black Truck pulling a trailer in their party when
   meeting with the occupants of the White Malibu. The SUSPECTED
   PARTY advised all three vehicles attempted to pursue the White
   Malibu when it fled the Lowe's parking lot after the transaction
   occurred.

33.   The SUSPECTED PARTY advised he believed the driver of the
   black truck pulling a trailer was an associate~         Matthew
    Dever's, later identified as Clint Dunlap W/M -         -

34.   The SUSPECTED PARTY advised David Allen Devaney SR, David
   Matthew Dever, and Clint were all discharging firearms at the
   direction of the White Malibu while they were pursing it.

35.   The Hampton Inn located at 13251 Jake Ct, contacted Officers
   and advised they had located a blonde colored wig in the parking
   lot.

36.   Officers located a Black 2021 Toyota Camry bearing Texas
   License Plate #PLD8843 which shows to be registered to a David
   Allen Devaney. This vehicle was located at 2608 Timber Rd,
   Burleson, Johnson County, Texas. Officers mad~         with
   Micki Seay            and a Benny Balboa W/M            who
   advised David Allen Devaney SR contacted them on 06 24/2022
   about purchasing the Black Toyota Camry for $4000, which is
   valued over $40,000.

37.   Detectives were provided exterior surveillance footage of the
   Lowe's Parking lot just prior to the incident. The footage
   displays three vehicles, a Black Sedan, a Black Truck and a
   Black Truck with a trailer driving at an accelerated rate of
   speed heading towards the direction of N Burleson Blvd. This
   corroborates the SUSPECTED PARTY statements about the driving
   behavior he described.

38.   The Honorable Judge William Bosworth of the 413 th District
   Court of Johnson County signed two arrest warrants for
   Aggravated Assault With a Deadly Weapon for David Matthew Dever
   in reference to this case. Officers later located and took David
   Matthew Dever into custody for these charges related to this
   case.

39.    Detectives interviewed David Matthew Dever, who was read his
   Miranda Rights and chose to waive them. He advised Clint, had
   care, custody and control of his Black Truck with Trailer on
    06/24/2022 and was one of his employees.

40.   David Matthew Dever advised the SUSPECTED PARTY contacted him
   about acting as security regarding a deal for the sale of
   illegal narcotics. He advised they were planning on using rolled
   up towels to fake the Cocaine packaging and they planned to rob
   the occupants of the white Malibu of their money for this
   transaction.
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41.    David Matthew Dever advised he met with the SUSPECTED PARTY
   and David Allen Devaney SR at the Burleson Lowe's location. He
    further advised Clint was also present and was driving his Black
    Dodge Ram SLT with trailer. He advised he was to sit in the
   Black Camry in the passenger seat and catch a bag being thrown
   by the occupants of the White Malibu.

42.   David Matthew Dever advised they met with two occupants of a
   White Vehicle and advised they fled the Lowe's parking lot area
   after the deal went bad due to fake money and fake narcotics
   being presented by the subjects involved in the transaction. He
   advised he was in a vehicle with David Allen Devaney SR who was
   wearing a blonde wig.

43.      David Matthew Dever advised the SUSPECTED PARTY, David Allen
      Devaney SR, and Clint were discharging firearms in the direction
      of the White Malibu.

44.   David Matthew Dever advised as they attempted to pursue the
   White vehicle, the SUSPECTED PARTY attempted to block the White
   vehicle path on the roadway in his vehicle and Clint attempted _
   to block their path while driving the Black Dodge Ram SLT with
   trailer.

45.      This statement correlates what witnesses observed about the
      Black Dodge Ram SLT with Trailer blocking the path of the White
      Vehicle causing it to stop on the roadway.

46.   Detectives interviewed Clint, who was read his Miranda Rights
   and chose to waive them. He advised he told by David Matthew
    Dever they were acting as security for a deal. He advised he and
   the other three subjects were discharging firearms in the
   direction of the White Malibu.

47.    The Honorable Judge William Bosworth of the 413 th District
   Court of Johnson County signed a search warrant for the Black
    2021 Toyota Camry bearing Texas License Plate #PLD8843. Upon
   execution of this warrant, officers located two bullet casings
   of different calibers: 9MM and .40 Cal.

48.   Detectives located footage from the Quik Trip Gas Station
   located at 12345 South Fwy, Fort Worth, Tarrant County, Texas,
   which confirmed the SUSPECTED PARTY was the driver of the Black
   Dodge Ram Lone Star, Clint was the driver of David Matthew
   Dever's Black Dodge Ram SLT with trailer, David Allen Devaney SR
   was the driver of the Black Camry and David Matthew Dever was
   the front passenger of the Black Camry. These subjects parked
   these vehicles under the cameras at this location approximately
   14 minutes after the incident occurred.

49.   It should be noted, the SUSPECTED PARTY advised the other
   three subjects discharged a firearm during the commission of
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           this offense. David Matthew Dever advised the other three
           discharged a firearm during the commission of this offense and
           Clint advised all four subjects discharged a firearm during the
           commission of this offense.

     50.  Your Affiant has worked numerous investigations involving
       illegal narcotic transactions involving fraudulent, counterfeit
       or prop money attempting to be passed during the course of the
       transaction. Based Your Affiant's training and experience said
       transactions may escalate to shootings or homicides.

     51.   Your Affiant believes, based the SUSPECTED PARTY's statements
        as being a party to the offense, the SUSPECTED PARTY attempting
        to evade officers with the SUSPECTED VEHICLE, a reasonable
        prudent person would believe that evidence of the crime may
        still be inside the SUSPECTED VEHICLE.


WHEREFORE, AFFIANT ASKS FOR THE ISSUANCE OF A WARRANT THAT WILL
AUTHORIZE THE SEIZURE OF SAID SUSPECTED VEHICLE WHEREVER IT MAY BE FOUND
AND TRANSPORT THE SUSPECTED VEHICLE TO THE CITY OF BURLESON SERVICE
CENTER, 725 SE JOHN JONES DR, BURLESON, JOHNSON COUNTY, TEXAS. AFFAINT
ASK FOR SEARCH OF SAID SUSPECTED VEHICLE FOR PROPERTY AND SEIZURE OF THE
SAME AND TO TAKE CUSTODY OF ALL SEIZED PROPERTY FOR THE SAFE KEEPING OF
SUCH PROPERTY AS PROVIDED BY STATUTE.        /       .

                                                 /4     M     L>C:7
                                              AFFIANT-Ronald Martin

SUBSCRIBED AND SWORN TO BEFORE ME BY
OF June, AD, 2022.



                                              MAGISTRATE




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